     Case 4:14-cr-00171 Document 297 Filed on 12/02/14 in TXSD Page 1 of 16




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
v.                                                §            CRIMINAL ACTION H-14-171S-12
                                                  §
                                                  §
DEBORAH DAVIS                                     §

                                               Order

       Pending before the court are the following motions filed by defendant Deborah Davis: (1)

motion for list of witnesses (Dkt. 202); (2) motion for Jencks Act material (Dkt. 203); (3) motion

for disclosure of identity or whereabouts of informants and cooperating individuals 30 days before

trial (Dkt. 205); (4) motion in limine regarding other crimes and uncharged misconduct (Dkt. 208);

(5) motion for Brady materials and preservation and production of rough notes (Dkt. 209); (6)

motion for leave to submit questionnaire to prospective jurors (Dkt. 211); (7) motion to produce law

enforcement interview reports or notes with individuals who will not be witnesses at trial (Dkt. 212);

(8) motion for transcript of grand jury minutes (Dkt. 213); (9) motion for disclosure of payments to

government witnesses (Dkt. 214); (10) motion for disclosure of confidential and other informants

(Dkt. 215); (11) motion for notice of Government intent to use evidence (Dkt. 216); (12) motion for

discovery (Dkt. 217); (13) motion to allow counsel to conduct voir dire (Dkt. 218); and (14) motion

for disclosure of expert witness summaries and expert reports (Dkt. 219). After considering the

motions, responses,1 and applicable law, the court is of the opinion that the motions at Docket entries


       1
          The Government provided three responses to all of the motions that are the subject of this
order. See Dkts. 239–41. The responses at docket entries 239 and 241 addressed specific motions.
See Dkts. 239, 241 (addressing the motions at docket entries 208 and 211). The response at docket
entry 240, on the other hand, entitled “Government’s Response to Defendant Davis’s Various
     Case 4:14-cr-00171 Document 297 Filed on 12/02/14 in TXSD Page 2 of 16




202, 203, 209, and 212 should be DENIED, the motion at docket entry 205 should be DENIED AS

MOOT, the motions at docket entries 213, 214, 215, 217, and 219 should be GRANTED IN PART

AND DENIED IN PART as further explained below, the motion at docket entry 216 should be

GRANTED AS UNOPPOSED, and the motion at docket entry 218 should be GRANTED. The

court defers ruling on the motion at docket entry 208 until the pretrial conference, and it defers ruling

on the motion at docket entry 211 until the parties submit a joint proposed questionnaire.

                                I. MOTION FOR LIST OF WITNESSES

        Davis’s first motion is for an order requiring the Government to provide a list of witnesses

that the Government may call during its case-in-chief or rebuttal prior to trial so that Davis may

properly voir dire the jury panel and intelligently exercise her peremptory challenges. Dkt. 202.

Davis contends that she cannot meaningfully confront and cross-examine witnesses without having

their identities, including names and addresses, disclosed well in advance of trial. Id.

        The Government states that it will file a list of witnesses whom the Government expects may

testify immediately prior to trial, as required by the Local Rules of the Southern District of Texas.

Dkt. 240 (citing S.D. Tex. Local Rules, App. C § J). It declines, however, to provide a list of names

and addresses, asserting that it is not required to do so under Rule 16. Id.




Motions for Discovery,” was broken into seventeen sections that do not indicate to which motion
or motions they relate. See Dkt. 240. The court assumes that the Government meant this to be a
response to the remainder of Davis’s then-pending motions. The generalized nature of the response
required the court to attempt to ascertain which sections related to which motion or motions and to
decipher whether the Government was actually opposed to a particular request or not. The court
instructs the Government to structure its future responses in a manner that indicates which motion
or motions particular sections are addressing and whether the Government is opposed to the specific
requests contained in the motions.

                                                   2
    Case 4:14-cr-00171 Document 297 Filed on 12/02/14 in TXSD Page 3 of 16




       Under Federal Rule of Criminal Procedure 16, the Government must disclose, upon request,

(1) the defendant’s oral statement; (2) the defendant’s written or recorded and statement; and (3) the

defendant’s prior record. Fed. R. Crim. P. 16(a)(1)(A)-(D). The Government also must allow the

defendant to inspect and copy documents and objects in the Government’s possession, custody, or

control (a) that are material to preparing the defense; (b) that the Government intends to use in its

case-in-chief at trial; or (c) that were obtained from or belong to the defendant. Fed. R. Crim. P.

16(a)(1)(E). The Government must allow the defendant to inspect and copy the results of reports

of certain examinations or scientific tests or experiments, and it must give the defendant a written

summary of expert testimony. Fed. R. Crim. P. 16(a)(1)(F)-(G). The Government is not required

to allow discovery or inspection of statements made by prospective Government witnesses except

as provided by 18 U.S.C. § 3500. Fed. R. Crim. P. 16(a)(2).

       Under 18 U.S.C. § 3500, statements or reports made by Government witnesses or prospective

Government witnesses, other than the defendant, are not subject to subpoena, discovery, or

inspection until after the witness has testified on direct examination in court. 18 U.S.C. § 3500(a).

After the witness has been called by the Government, the court shall order the Government to

produce any statements of the witness in the Government’s possession that relate to the testimony,

at the request of the defendant. 18 U.S.C. § 3500(b).

       “[T]here is no constitutional right to pretrial discovery of witnesses in non-capital cases.”

United States v. Aguilar, 503 F.3d 431, 434 (5th Cir. 2007) (citing Weatherford v. Bursey, 429 U.S.

545, 559, 97 S. Ct. 837 (1977)). “Rule 16 . . . makes no provision for the production of the names

and addresses of witnesses for the government.” United States v. Fischel, 686 F.2d 1082, 1091 (5th

Cir. 1982). In certain cases, however, due process or the supervisory powers of the court may require


                                                  3
     Case 4:14-cr-00171 Document 297 Filed on 12/02/14 in TXSD Page 4 of 16




“the divulgence of information in the government’s hands.” Id. For instance, the Government may

be required to provide discovery not otherwise required by the rules if it is exculpatory or if it relates

to confidential informants who have relevant and helpful information. Id. (citing Weatherford, 429

U.S. at 559; Brady v. Maryland, 373 U.S. 83, 83 S. Ct. 1194 (1963); and Roviaro v. United States,

353 U.S. 53, 77 S. Ct. 623 (1957)).

        Here, there is no indication that there is a need for production of a witness list prior to the

time it is required under the Local Rules. Accordingly, Davis’s motion, to the extent it requests early

disclosure and the addresses of the witnesses, is DENIED.

 II. MOTION FOR EARLY DISCLOSURE OF JENCKS ACT MATERIALS 30 DAYS BEFORE TRIAL

        Davis next requests that the court order the Government to disclose all statements and reports

within the meaning of the Jencks Act, 18 U.S.C. § 3500, 30 days before trial. Dkt. 203. Davis does

not provide any reason for the request or cite any caselaw. See id. As noted above, the Jencks Act

requires the Government to provide relevant witness statements or reports after the witness has

testified at trial. 18 U.S.C. § 3500. Since Davis has not identified a need for these materials 30 days

before trial and nothing in the rules requires this early disclosure, her motion is DENIED.

  III. MOTION FOR EARLY DISCLOSURE OF IDENTITY AND WHEREABOUTS OF INFORMANTS
             AND COOPERATING INDIVIDUALS THIRTY DAYS BEFORE TRIAL


        Davis moves for the court to order the Government to disclose the identity and whereabouts

of all informants or cooperating individuals who were participants in the transactions alleged in this

case thirty days before trial. Dkt. 205. The Government asserts that no confidential informants were

used as part of the investigation in this case. Dkt. 240. Since there are no informants, Davis’s

motion is DENIED AS MOOT.



                                                    4
     Case 4:14-cr-00171 Document 297 Filed on 12/02/14 in TXSD Page 5 of 16




      IV. MOTION IN LIMINE REGARDING OTHER CRIMES AND UNCHARGED CONDUCT

       Davis moves for the court to order that the Government and its witnesses should refrain from

referring to any other extraneous crimes or misconduct by Davis or other defense witnesses until the

court conducts a hearing outside of the presence of the jury to make certain determinations.

Dkt. 208. The Government does not object to a hearing outside the presence of the jury to determine

the admissibility of other crimes, wrongs, or acts evidence under Rules 403, 404(b) and 609 of the

Federal Rules of Evidence, as long as the requirement applies regardless of which party is offering

the evidence. Dkt. 241. The Government, however, objects to a suggestion in Davis’s briefing that

evidence of other crimes can only be used in rebuttal. Id. The court DEFERS ruling on this motion

until the pretrial conference.

             V. MOTION FOR PRESERVATION AND PRODUCTION OF ROUGH NOTES

       Davis moves for the court to order the Government to preserve and produce all handwritten

notes of all cooperating witnesses and law enforcement officers and agents as well as any statements

attributed to Davis. Dkt. 209. She asserts that the notes of the agents and cooperating witnesses that

have been used in the preparation of the final reports of the witnesses are subject to required

disclosure, along with other Jencks Act materials. Id. She cites 18 U.S.C. § 3500, Rules 16 and

26.2, and Brady in support of this request. See id. The Government asserts that the Fifth Circuit has

no requirement that rough or original notes be retained or made available for discovery purposes.

Dkt. 240. It asserts, however, that if it becomes aware of exculpatory or mitigating evidence

contained in witness statements, agent notes or reports, it will notify Davis’s counsel. Id.

       Under Fifth Circuit law, even if the rough notes of an agent contain occasional verbatim

recitations of phrases used by the person being interviewed, they are not necessarily a “statement”


                                                  5
    Case 4:14-cr-00171 Document 297 Filed on 12/02/14 in TXSD Page 6 of 16



for Jencks Act purposes. United States v. Cole, 634 F.2d 866, 867 (5th Cir. 1981). Additionally,

the Fifth Circuit has held that the Jencks Act does not require “that notes made in the course of an

investigation be preserved after the notes have served their purpose of assisting in the preparation

of interview reports.” Id. at 868 (quoting United States v. Pacheco, 489 F.2d 554. 556 (5th Cir.

1974)). Thus, if notes are “destroyed by an agent in good faith” there is no violation of the Jencks

Act. Id.

       Since the Fifth Circuit does not impose the requirement to preserve notes that Davis requests

and the Government has otherwise agreed to disclose any materials pursuant to Rules 16 and 26.2,

the Jencks Act, Brady, and Giglio, Davis’s motion is DENIED.

                        VI. MOTION TO SUBMIT A JURY QUESTIONNAIRE

       Davis moves for the court to allow her to submit a jury questionnaire, arguing that a jury

questionnaire is an effective method of obtaining important information and will lay the foundation

for all parties to intelligently exercise their peremptory challenges. Dkt. 211. She states that her

proposed questionnaire is attached to her motion, but she did not file a proposed questionnaire. See

id. The Government does not object to a questionnaire as long as the parties agree to its form prior

to jury selection. Dkt. 239. The Government states that it is working with Davis to create an agreed

questionnaire for submission to the court. Id. The court will therefore defer on ruling on this motion

until the parties submit the agreed questionnaire for the court’s review.

   VII. MOTION TO PRODUCE LAW ENFORCEMENT INTERVIEW REPORTS OR NOTES WITH
                INDIVIDUALS WHO WILL NOT BE WITNESSES AT TRIAL

       Davis next requests that the court require the Government to produce all investigative reports

or notes by law enforcement agencies that contain memoranda or interviews conducted by employees

of those agencies with individuals who will not be called as witnesses at trial but who were

                                                  6
    Case 4:14-cr-00171 Document 297 Filed on 12/02/14 in TXSD Page 7 of 16



interviewed during the investigation. Dkt. 212. Davis makes this request pursuant to Brady’s

requirement that the Government produce exculpatory evidence. Id. Davis asserts that only Davis

can determine what is exculpatory or favorable within her own theory of the case. Id.

       Brady and its progeny do not require open access to all government records just in case there

may something relevant to the defendant’s case. While it is true that there could in some

circumstances be materials that the Government does not realize are exculpatory until it is more

aware of the defendant’s theory of his or her case, the Government here has noted that it is aware of

its continuing duty to disclose required evidence. Dkt. 240. The court finds that so long as the

Government complies with its obligations under Brady and its progeny and discloses materials as

soon as it becomes aware that they may be exculpatory, then Davis’s rights are protected. Davis’s

motion for production of all investigative reports or notes is therefore DENIED.

                     VIII. MOTION TO TRANSCRIBE GRAND JURY MINUTES

       Davis moves for an order requiring that the Government have the minutes of the Grand Jury

transcribed so that they will be available at trial should the court rule that they are producible for

Davis’s inspection and use. Dkt. 213. The Government states that it will not tender the Grand Jury

transcript except as required by the Jencks Act, Rules 6 and 26.2 of the Federal Rules of Criminal

Procedure, or Brady and Giglio. Dkt. 240. The Government points out that Grand Jury testimony

is specifically addressed in the Jencks Act, which indicates that the defendant may obtain the

materials when the witness testifies at trial.2 Id. The Government states that it will provide any

Jencks Act materials one week prior to the trial date. Id.



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          A statement made by a witness to a grand jury is included in the definition of “statement”
in the Jencks Act. 18 U.S.C. § 3500(e)(3).

                                                  7
    Case 4:14-cr-00171 Document 297 Filed on 12/02/14 in TXSD Page 8 of 16



       To the extent Davis is requesting that she be provided any statements made to the grand jury

that fit within the requirements of the Jencks Act in advance of trial, Davis’s motion is GRANTED

AS UNOPPOSED. Davis’s motion is otherwise DENIED.

         IX. MOTION FOR DISCLOSURE OF PAYMENTS TO GOVERNMENT WITNESSES

       Davis moves for an order requiring the disclosure of payments to witnesses and informants.

Dkt. 214. The Government asserts that it did not use any confidential witnesses or informants in this

case and that it will make available any promises, inducements, or plea agreements made with any

witnesses it plans to call during trial. Since there are no payments to informants and the Government

has agreed to disclose inducements to witnesses, Davis’s motion as it relates to disclosure of

payments to witnesses is GRANTED AS UNOPPOSED, and her motion as it relates to disclosure

of payments to informants is DENIED AS MOOT.

  X. MOTION FOR DISCLOSURE OF CONFIDENTIAL AND OTHER INFORMANTS, AGENTS, AND
                           COOPERATING INDIVIDUALS

       Davis moves for an order directing the Government to furnish the names, addresses,

telephone numbers, and present locations of any informant or cooperating individual or agent who

supplied information or performed any role whatsoever that resulted in the indictment of Davis.

Dkt. 215. Davis requests the same information with regard to any individuals who were involved

in any way with getting the informants or cooperating individuals in touch with the Government.

Id. Davis also requests the following information about these individuals: (1) whether they were

suspected of, under investigation for, or apprehended for any crime at the time the individuals were

assisting the Government as well as details about the crime and outcome; (2) whether they had any

financial arrangement with any governmental agency due to their actions or inactions and, if so, the

details of the arrangements; (3) whether they were threatened by any governmental official in relation

                                                  8
    Case 4:14-cr-00171 Document 297 Filed on 12/02/14 in TXSD Page 9 of 16



to providing assistance, including threats of prosecution; (4) whether they had criminal records and

the details of those records; and (5) whether they ever had any plea agreements, bargains, or other

arrangements with any governmental agency. Id. Davis also requests disclosure of (1) any

information that tends to show bias or prejudice on the part of any of the individuals subject to this

motion; (2) any information tending to show these persons made contradictory or inconsistent

statements relative to this case; (3) any information tending to show these persons have ever been

threatened with physical violence by the defendants in this case or the defendants’ families; (4) any

information tending to show that these people suffer for any material defects in perception, memory,

veracity, or articulation; and (5) any information tending to show that they may have failed at any

time to identify or misidentify the defendants in this case. Id.

       The Government states that is did not use confidential witnesses or informants to investigate

this case. Dkt. 240. It agrees to make available any promises, inducements, or plea agreements it

made with any witnesses that it intends to call during the trial as well as the prior criminal records

of the witnesses it has reason to suspect may have a criminal history pursuant to the requirements

of Giglio. Id.

       To the extent the motion requests disclosure of information related to confidential witnesses

and informants, the motion is DENIED AS MOOT. To the extent it requests information the

Government has agreed to provide pursuant to Giglio, Brady, and Rules 16 and 26.2, the motion is

GRANTED AS UNOPPOSED. And, to the extent the motion requests additional information not

required by Giglio, Brady, and Rules 16 and 26.2, the motion is DENIED, as Davis has provided no

authority indicating that she is entitled to additional information.




                                                  9
    Case 4:14-cr-00171 Document 297 Filed on 12/02/14 in TXSD Page 10 of 16



XI. MOTION FOR NOTICE BY THE GOVERNMENT OF ITS INTENT TO RELY ON OTHER CRIMES,
                   WRONGS, ACTS, AND MISCONDUCT EVIDENCE

       Davis moves for an order requiring the Government to provide pretrial notice under Rule

404(b) of the Federal Rules of Evidence of its intent to introduce evidence alleging that Davis

committed other crimes, wrongs, acts, and misconduct, and to provide Davis with a list of all such

evidence, including the names of witnesses, dates, summaries of expected testimony, and any related

documentary evidence. Dkt. 216. The Government states that it is aware of the notice requirements

of Rule 404(b) of the Federal Rules of Evidence and will provide notice to Davis in advance of trial.

Dkt. 240. Davis’s motion for disclosure is therefore GRANTED AS UNOPPOSED.

                                  XII. MOTION FOR DISCOVERY

       Davis moves for an order requiring that the Government produce and permit her to inspect

and copy the following items: (1) Davis’s and the alleged co-conspirators’ statements to law

enforcement agents, whether written or recorded; (2) Davis’s criminal records; (3) tangible evidence

intended for use by the Government in its case in chief, along with a designation as to which

materials fall in this category; (4) books, papers, documents, computer equipment, and other objects

in the prosecution’s possession that were obtained from Davis; (5) the date, time, and location of

each occasion when surveillance, mail cover, search and seizure, was made of Davis; (6) all reports

and results of any physical examinations or scientific tests or experiments conducted by the

Government or its agents; (7) Rule 404(b) evidence; (8) all statements required under the Jencks Act;

(9) evidence that may favor defense or impeaches; (10) prior criminal records of any person that the

Government intends to call as a witness, including the FBI Identification Sheet showing prior arrest

and convictions of the witnesses and the witnesses’ status on parole, probation, or suspended

sentence; (11) impeachment evidence, including offers or promises of grants of immunity, leniency,

                                                 10
    Case 4:14-cr-00171 Document 297 Filed on 12/02/14 in TXSD Page 11 of 16



financial assistance or other favorable action extended by the Government to any person it plans to

call as a witness; (12) inconsistent statements by any witness the Government plans to call at trial,

including any statement, writing, or record of any kind that contains information inconsistent with

the Government’s theory of the case; (13) evidence that a Government witness suffers or has suffered

from a mental or emotional disturbance or drug/alcohol abuse during the period from the indictment

through trial; (14) all discoverable information from the personnel or employment files of all

informants or agents who may testify; (15) the last known address and phone number of each

prospective Government witness; (16) any evidence that could lower the offense level under the

sentencing guidelines role in the offense, loss amount, or other adjustment; (17) names of expert

witnesses the Government intends to call at trial as well as a summary pursuant to Rule 17(a)(1)(G);

and (18) the names, addresses, telephone numbers, and present locations of any informant or

cooperating individual or any other agent of any governmental agency who supplied information that

led to the arrest of Davis. Dkt. 217. Davis further requests that the Government inform the court

if it intends to delay in production of Giglio and Brady materials until trial or shortly before, as these

requests are for production of responsive items as soon as the information becomes available. Id.

Davis also asks for a paragraph-by-paragraph response to her request for production. Id. With

regard to the request for a paragraph-by-paragraph response, the Government is not required to point

the defendant to specific documents within its overall production. United States v. Mulderig, 120

F.3d 534, 541 (5th Cir. 1997). Accordingly, the request for an itemized response to the discovery

requests is DENIED. The court will consider the remainder of the requests seriatim.




                                                   11
     Case 4:14-cr-00171 Document 297 Filed on 12/02/14 in TXSD Page 12 of 16



A.     Request One

       The Government states that it has made available any written or recorded statements of Davis

that are in its possession, custody, or control, pursuant to Rule 16. Dkt. 240. It declines, however,

to provide the requested contact information of witnesses with personal knowledge of Davis’s

statement, as Rule 16 does not require this disclosure. Id. It also declines to provide the statements

of Davis’s co-conspirators, noting that neither the Rules nor the Jencks Act require this disclosure.

Id. All that Davis has cited with regard to her request for these statements and for addresses of

persons who witnessed or have knowledge of her statements is Rule 16(a)(1)(A). This rule does not

require the disclosure Davis seeks. Accordingly, Davis’s motion for statements is GRANTED AS

UNOPPOSED to the extend that it requests materials the Government is required to produce under

Rule 16(a)(1)(A). It is otherwise DENIED.

B.     Requests Two through Seven

       Davis’s requests for (a) her criminal records (request 2), (b) tangible evidence the

Government will use in its case in chief (request 3), (c) items obtained from Davis (request 4), (d)

the search warrants in this case (request 5), (e) reports and results of physical examinations and

scientific tests (request 6), and (f) Rule 404(b) evidence (request 7), are GRANTED AS

UNOPPOSED. See Dkt. 240, §§ III–VI, XI (indicating that the Government will provide these

materials).

C.     Request Eight

       Davis’s request for Jencks Act materials is GRANTED to the extent it requests material

required under the Jencks Act. It is DENIED to the extent she requests rough notes for the reasons

outlined above relating to her motion that specifically addressed the notes.


                                                 12
     Case 4:14-cr-00171 Document 297 Filed on 12/02/14 in TXSD Page 13 of 16



D.     Requests Nine through Eleven

       Davis’s request for Brady and Giglio materials (request 9) is GRANTED AS UNOPPOSED.

See Dkt. 240 § XIII. Davis’s request for prior criminal records of Government witnesses (request

10) is GRANTED AS UNOPPOSED to the extent she requests criminal records required under

Giglio. See Dkt. 240 § XIV. Davis’s request for impeachment evidence and Giglio materials

(request 11) is GRANTED AS UNOPPOSED to the extent she requests materials covered by Brady,

Giglio, and their progeny.3 See Dkt. 240 § XV.

E.     Request Twelve

       The Government does not appear to address Davis’s motion for disclosure of inconsistent

statements of witnesses who will testify at trial. See Dkt. 240. However, these statements should

be disclosed under Giglio; the motion is therefore GRANTED.

F.     Request Thirteen

       The Government also did not address the request for information about any mental problems

of drug abuse by Government witnesses. See Dkt. 240. If the Government has such information that

it does not believe it is required to disclose, the court ORDERS that the Government provide it to

the court for in camera inspection.

G.     Request Fourteen

       The Government also does not specifically address Davis’s request for an Brady or Giglio

materials in the personnel or employment folders of informants or agents who may testify, though



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          Davis has several requests under this category, and the Government’s response merely
indicates that it will comply with its obligations under Brady, Giglio, and their progeny. If Davis
does not believe that this covers all categories of documents that she needs, then Davis may renew
her motion during the status conference on January 9, 2015.

                                                 13
     Case 4:14-cr-00171 Document 297 Filed on 12/02/14 in TXSD Page 14 of 16



it acknowledges that it must produce Brady and Giglio materials (Dkt. 240 § XIII). Since Davis

merely requests discoverable materials under Brady or Giglio, or an affidavit stating no such

materials exist, the request is GRANTED.

H.     Request Fifteen

       Davis’s request for the names and addresses of each prospective Government witnesses, to

the extent it requests early disclosure and the addresses of the witnesses, is DENIED, for the reasons

stated above in regard to Davis’s separate motion for a list of witnesses.

I.     Request Sixteen

       Davis’s request for evidence that could lower her sentence or offense level, which the

Government does not specifically address, is GRANTED.

J.     Request Seventeen

       Davis’s request for the names of expert witnesses that the Government intends to call at trial

as well as a written summary (request 17) is GRANTED AS UNOPPOSED. See Dkt. 240 § VII.

K.     Request Eighteen

       Davis’s request for disclosure of the names, addresses, phone numbers, and present locations

of informants and cooperating individuals is GRANTED IN PART AND DENIED IN PART as

noted above in the section addressing Davis’s specific motion for disclosure of information related

to confidential witnesses and informants.

                  XII. MOTION FOR ATTORNEY PARTICIPATION IN VOIR DIRE

       Davis requests that the court permit the attorneys to participate in the voir dire of prospective

jurors. Dkt. 218. She also reiterates her request to submit a jury questionnaire. Id. The court has

already addressed the request to submit a jury questionnaire when analyzing Davis’s motion that


                                                  14
    Case 4:14-cr-00171 Document 297 Filed on 12/02/14 in TXSD Page 15 of 16



specifically addressed that topic (Dkt. 211). As far as the request to allow the attorneys to participate

in voir dire, it is this court’s practice to allow each party a set amount of time to ask any follow-up

questions after the court has conducted voir dire. The Government does not indicate why it opposed

this motion in its response to various discovery requests. See Dkt. 240. The motion is therefore

GRANTED. The court will determine the appropriate amount of time during the pretrial conference.

  XIII. MOTION FOR DISCLOSURE OF EXPERT WITNESS SUMMARIES AND EXPERT REPORTS

        Davis requests that the court order the Government to produce summaries of expert witness

testimony that it intends to sponsor at trial or sentencing and expert reports, preliminary and final.

Dkt. 219. She requests that this production be “fulfilled instanter, so that she may prepare for trial

and/or sentencing in this case.” Id. Under Rule 16(a)(1)(G), the Government must, upon the

defendant’s request, provide “a written summary of any testimony that the government intends to

use under Rules 702, 703, or 705 of the Federal Rules of Evidence during its case-in-chief at trial.”

Fed. R. Crim. P. 16(a)(1)(G). The Government has agreed to provide a written summary of all

expert testimony it intends to use in its case-in-chief at trial. Dkt. 240 § VII. The motion therefore

is GRANTED IN PART AS UNOPPOSED. Davis has not provided argument as to why she is

entitled to summaries of expert testimony that the Government will not rely upon during trial but

may rely upon for sentencing. The motion is therefore preliminarily DENIED. However, if Davis

has good cause for such evidence, she will be permitted to address the issue during the status

conference on January 9, 2015.




                                                   15
    Case 4:14-cr-00171 Document 297 Filed on 12/02/14 in TXSD Page 16 of 16



                                        XIV. CONCLUSION

       The motions at Docket entries 202, 203, 209, and 212 are DENIED, the motion at docket

entry 205 is DENIED AS MOOT, the motions at docket entries 213, 214, 215, 217, and 219 are

GRANTED IN PART AND DENIED IN PART as explained above, the motion at docket entry 216

is GRANTED AS UNOPPOSED, and the motion at docket entry 218 is GRANTED. The court

defers ruling on the motion at docket entry 208 until the pretrial conference, and it defers ruling on

the motion at docket entry 211 until the parties submit a joint proposed questionnaire.

       Signed at Houston, Texas on December 2, 2014.




                                                            Gray H. Miller
                                                      United States District Judge




                                                 16
